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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                Case No. 18-12095-BFK
                                     )                Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

               RESPONSE TO OBJECTION TO RETENTION OF WHITEFORD,
                TAYLOR & PRESTON, LLP AS COUNSEL TO THE DEBTOR
          WW Contractors, Inc. (the “Debtor”), the debtor and debtor-in-possession in the above

 captioned chapter 11 case, hereby files this response to the Objection to Retention of Whiteford,

 Taylor & Preston, LLP as Counsel to the Debtor (the “Objection”) filed by the Office of the

 United States Trustee (the “US Trustee”).

          1.     On November 16, 2018, the Debtor filed its Application to Employ Whiteford,

 Taylor & Preston, LLP as Counsel to the Debtor (the “Application”) seeking authority to employ

 Whiteford, Taylor & Preston, LLP (“WTP”) as its counsel in this bankruptcy case. See Docket

 No. 122.

          2.     On November 21, 2018, the US Trustee filed its Objection objecting to the
 Debtor’s proposal to pay to WTP a $15,000.00 initial retainer and $15,000.00 per month, which

 amounts would be placed into WTP’s trust account pending further order of the Court. The basis

 for the Objection is that the US Trustee had not received payment of its fees for the third quarter

 of 2018 payable by the Debtor pursuant to 28 U.S.C. § 1930.




 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
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        3.      On November 23, 2018, the Debtor obtained confirmation from the US Trustee

 regarding the total amount of quarterly fees owed.1

        4.      On November 27, 2018, the Debtor sent payment of the third quarter fees to the

 US Trustee. The Debtor’s records indicate that the payment was received by the US Trustee at

 10:06 a.m. on November 29, 2018.

        5.      On December 4, 2018, the US Trustee confirmed by email to counsel to the

 Debtor that full payment for the third quarter fees had been received and applied to the

 outstanding balance owed by the Debtor.

        6.      Given the payment in full of the US Trustee’s fees, the Debtor believes that the

 Objection has been resolved.

        WHEREFORE, the Debtor respectfully requests that the Court enter an order (1)

 overruling the Objection; (2) approving the Application; and (3) granting such other and further

 relief as it deems just and proper.


 Dated: December 7, 2018                       WHITEFORD, TAYLOR & PRESTON, LLP

                                               /s/ David W. Gaffey
                                               Christopher A. Jones, VSB# 40064
                                               David W. Gaffey, VSB# 85088
                                               Jennifer E. Wuebker, VSB# 91184
                                               3190 Fairview Park Drive, Suite 800
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                                               Proposed Counsel for WW Contractors, Inc.




 1
   The Debtor and employees of the US Trustee had been engaged in email correspondence pre-
 dating the Objection regarding the correct amount of quarterly fees, taking into account interbank
 transfers which are not included when calculating the fee owed.

                                                  2
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 7, 2018, I caused a copy of the foregoing Response to
 be served via the Court’s Electronic Case Filing System on all parties requesting notice thereby.


                                             /s/ David W. Gaffey
                                             Counsel




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